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Blackbird Tech LLC d/b/a Blackbird Technologies

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

BLACKBIRD TECH LLC d/b/a
BLACKBIRD TECHNOLOGIES,
Plaintiff,
C.A. No. 17-cv-06377-CCC-MF
v.
JURY TRIAL DEMANDED
ONTEL PRODUCTS CORPORATION,

Defendant.

STIPULATION OF DISMISSAL

Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), it is stipulated and agreed that
all claims brought by Plaintiff against Defendant are dismissed with prejudice. It is further

stipulated and agreed that each party will bear its own costs, expenses, and attorneys’ fees.
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Dated: March 18, 2019

STAMOULIS & WEINBLATT LLC DICKINSON WRIGHT PLLC

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Attorney for Defendant Ontel Products
Corporation.

SO ORDERED this th day of March, 2018.

United States District Judge
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CERTIFICATE OF SERVICE

I hereby certify that on March 18, 2018, I electronically served the forgoing document on
all counsel of record in this action.

/s/ Stamatios Stamoulis

Stamatios Stamoulis (1790-1999)

